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                                                                     October 16, 2020
                                                           Application granted. Sentencing adjourned
                                                           to December 17, 2020 at 2:30 p.m.
VIA ECF

The Honorable William H. Pauley, III
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007
                                                                         October 19, 2020
               Re:     United States v. Thomas Irigoyen
                       Case No. 19-CR-226 (WHP)


Dear Judge Pauley:

        We write on behalf of our client, Thomas Irigoyen, to respectfully request that
sentencing, currently scheduled for November 5, 2020, be adjourned until such time as
Mr. Irigoyen is able to safely travel to attend the proceeding in person. Mr. Irigoyen’s
health issues, in particular his obesity and heart condition, make him especially
vulnerable to severe complications from COVID-19. An in-person sentencing at this
time would require Mr. Irigoyen to travel to New York from California, which would
likely increase his exposure to infection. Although it is currently not possible to predict
with certainty when that will happen, at this time we request that the Court adjourn the
sentencing date for 30 days. We have spoken to Assistant U.S. Attorney Dan Wolf and
he consents to the proposed adjournment. We appreciate the Court’s consideration.


                                              Respectfully submitted,

                                              /s/
                                              Michael Tremonte
                                              Noam Biale

                                              Attorney for Thomas Irigoyen



cc:    All counsel (via ECF)
